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 UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                         §
                                                 §
versus                                           §          CASE NO. 1:14-CR-74-2
                                                 §
ALTON WAYNE WALLACE                              §

         ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

         On this day, the court considered the Findings of Fact and Recommendation of United

States Magistrate Judge Zack Hawthorn regarding the Defendant’s plea of guilty to Count Two

of the First Superseding Indictment in the above-numbered case. Having conducted a proceeding

in the form and manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that

the court accept the guilty plea of the Defendant. The court is of the opinion that the Findings of

Fact and Recommendation should be accepted.

         It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge are ADOPTED.

         It is further ORDERED that the Defendant’s guilty plea and the plea agreement are

ACCEPTED by the court.

         It is finally ORDERED that the court finds the Defendant guilty on Count Two of the First

        . Indictment.
Superseding
       SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 25th day of November, 2014.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
